                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

ALEKSEY RUDERMAN, ARTURO SALDIVAR,
and CHRIS POCKNELL on behalf of themselves
and all others similarly situated,

                        Plaintiffs,                         CASE NO. 23-CV-1336

v.

KENOSHA COUNTY, KENOSHA COUNTY
SHERIFF’S DEPARTMENT, DAVID G. BETH,
ROBERT HALLISY, LARRY APKER, MARC
LEVIN, JUSTIN MILLER, and BILL BETH

                        Defendants.



        DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR DISMISSAL


       Kenosha County, Kenosha County Sheriff’s Department, David G. Beth, Larry Apker,

Marc Levin, Justin Miller, and Bill Beth, by their attorneys, Municipal Law & Litigation Group,

S.C., and with respect to Defendant Robert Hallisy, said counsel making a Special Appearance

because he has not been served and thereby retains all objections to personal jurisdiction,

insufficient process and insufficient service of process, respectfully move the Court for an Order

dismissing Plaintiffs’ Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure

to state a claim upon which relief can be granted.

       Dismissal of all claims is warranted on the following grounds:

       (1) The TVPA does not extend to general housekeeping duties of detainees in municipal

       jails;




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       (2) Even if the TVPA applies to government-run jails, the TVPA is unconstitutional as

       applied to the facts of this case;

       (3) Plaintiffs have not pled the requirements of a Monell claim in order to sustain the federal

       claims;

       (4) The County and individual Defendants are protected by derivative sovereign immunity

       and qualified immunity;

       (5) Plaintiffs have not pled any personal involvement of the individual defendants and the

       sheriff’s department is not a suable entity; and

       (6) The Court should exercise supplemental jurisdiction over the state law claims and

       determine they are barred as a matter of law.

       This Motion is based on the pleadings and papers in this action, this Motion, the

accompanying Brief in Support, and the Affidavit and exhibits attached hereto.

       Dated this 6th day of November, 2023.


                                            MUNICIPAL LAW & LITIGATION GROUP, S.C.

                                              Attorneys for Kenosha County, Kenosha County
                                              Sheriff’s Department, David G. Beth, Robert
                                              Hallisy (Special Appearance), Larry Apker, Marc
                                              Levin, Justin Miller, and Bill Beth.


                                              By: /s/ Electronically signed by Remzy D. Bitar
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